Case 2:05-cr-20205-.]DB Document 38 Filed 07/20/05 Page 1 of 2 Page|D 57

 

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Plaintiff,
v.
Case No. 2:05-cr-20205*1 Ml
CHRIS NEWTON and CHARLES LOVE,r

Defendants.

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ORDER SETTING TELEPHONE CONFERENCE

 

A telephone conference in this cause has been set for
Mondav. Julv 25, 2005. at 3:00 p.m. During the conference, the
parties should be prepared to discuss Defendant Newton’s request
for disclosure of un-redacted Title III materials in discovery
and Defendant Newton’s pending motion to dismiss for lack of
proper venue orr alternatively, to transfer case.

The Court will initiate the call to the parties. All
parties and counsel shall inform the Court of a telephone number

at which they may be reached prior to the conference.

So ORDERED this 21 day of July, 2005.

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JON P. MCCALLA
UN ED STATES DISTRICT JUDGE

 

Th|s document entered on the docket sheet in compilance

with ama 55 and/or az(b) FRCrP on Z 'o£'/ 05

UNITED sTATE D"ISIC COURT - WESTERN D'S'TRCT oFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 38 in
case 2:05-CR-20205 Was distributed by faX, mail, or direct printing on
July 21, 2005 to the parties listed.

 

 

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Honorable .1 on McCalla
US DISTRICT COURT

